                Case 23-12365-SLM              Doc 49      Filed 05/12/23 Entered 05/12/23 12:50:04                    Desc Main
                                                          Document  Page 1 of 2
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             RABINOWITZ, LUBETKIN & TULLY, LLC
            293 Eisenhower Parkway, Suite 100
            Livingston, NJ 07039                                                              Order Filed on May 12, 2023
                                                                                               by Clerk,
            (973) 597-9100                                                                    U.S. Bankruptcy Court
            Barry J. Roy, Esq.                                                                District of New Jersey
            Proposed Counsel to Debtors
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            MASAHIKO NEGITA and YASUKO NEGITA,                                                    Ch. 11, Subchapter V
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                DATED: May 12, 2023
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